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 5                               UNITED STATES DISTRICT COURT

 6                                      DISTRICT OF NEVADA

 7   UNITED STATES OF AMERICA,                         )
                                                       )
 8                         Plaintiff,                  )
                                                       )
 9           v.                                        )           2:08-CR-288-PMP-(RJJ)
                                                       )
10   CALWAY WILLIAM CAULEY,                            )
                                                       )
11                         Defendant.                  )

12                              AMENDED ORDER OF FORFEITURE

13          This Court found on March 2, 2010, that CALWAY WILLIAM CAULEY shall pay a criminal

14   forfeiture money judgment of $763,000.00 in United States Currency, pursuant to Fed. R. Crim. P.

15   32.2(b)(1) and (2); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

16   Code, Section 2461(c); and Title 18, United States Code, Section 982(a)(2)(A). Order of Forfeiture,

17   ECF No. 242.

18          THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the United

19   States recover from CALWAY WILLIAM CAULEY a criminal forfeiture money judgment in the

20   amount of $763,000.00 in United States Currency pursuant to Fed. R. Crim. P. 32.2(b)(4)(A) and

21   (B); Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States Code, Section

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 1   (2461(c); Title 18, United States Code, Section 982(a)(2)(A); and Title 21, United States Code,

 2   Section 853(p).

 3                     20th day
          DATED this ______ day of __________________,
                                   July, 2012.         2012.

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 5
                                               UNITED STATES DISTRICT JUDGE
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